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 1                                     IN THE UNITED STATES DISTRICT COURT
 2                                   EASTERN DISTRICT OF CALIFORNIA, FRESNO
 3
     UNITED STATES OF AMERICA,                             ) Case No.: 1:04-CR-5356 AWI
 4                                                         )
                                 Plaintiff,                )
 5                                                         )
                           vs.                             ) PROPOSED ORDER TO RETURN
 6                                                         ) PASSPORTS OF SURINDER SINGH
     SURINDER SINGH NIJJAR,                                ) NIJJAR
 7                                                         )
                                 Defendant.                )
 8                                                         )
 9                         This case against Surinder Singh Nijjar, having been
10   concluded, it is hereby:
11                         ORDERED that the passports of Surinder Singh Nijjar,
12   #055340485 and #454175879, be returned to Mr. Nijjar at the
13   following address:
14                         19171 Road 24
15                         Madera, CA 93638
16

17
     IT IS SO ORDERED.
18

19   Dated: October 7, 2011
                                                   CHIEF UNITED STATES DISTRICT JUDGE
20
     DEAC_Signature-END:




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                                                  ORDER TO RETURN PASSPORTS
                                                 CASE NO.: 1:04-CR-5356 AWI
